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            Exhibit P-9
        Case 3:17-cv-01104-VLB Document 98-24 Filed 12/30/19 Page 2 of 22




                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT


                                       :
SUSAN BYRNE,                           :     CIVIL CASE NO.: 3:17-cv-01104-VLB
    Plaintiff                          :
                                       :
v.                                     :
                                       :
YALE UNIVERSITY,                       :
     Defendant                         :     DECEMBER 30, 2019
                                       :

           PLAINTIFF’S MOTION IN LIMINE TO PRECLUDE DEFENDANT
         FROM OFFERING EVIDENCE DISCLOSED ON DECEMBER 19, 2019
                  AND MEMORANDUM IN SUPPORT THEREOF

     Plaintiff hereby moves in limine to prevent Defendant from offering recordings

not produced in discovery, despite Plaintiff’s request therefor. Through a

discovery request in January 2019 Plaintiff requested all recordings made by

Professor Kate Stith during Defendant’s Climate Review of the Department of

Spanish and Portuguese. At the time, Defendant insisted these recordings were

lost - yet slightly over a week ago, months after the close of discovery,

Defendants produced nineteen hours of Professor Stith’s recordings of

interviews with Professors Rolena Adorno and Noel Valis.

     Permitting the introduction of such evidence would be unduly prejudicial to

Plaintiff and would violate the Federal Rules of Civil Procedure and the Court's

scheduling order. As Defendant cannot meet its burden of establishing that its

failure to disclose these documents was substantially justified or harmless,

Plaintiff requests that the Court prohibit Defendant from introducing the

recordings of Professors Adorno, Gonzalez Echevarria and Valis.
      Case 3:17-cv-01104-VLB Document 98-24 Filed 12/30/19 Page 3 of 22




                                       PLAINTIFF,
                                       SUSAN BYRNE


                                 By:   /s/ Claire M. Howard
                                       Claire M. Howard (ct29654)
                                       Madsen, Prestley & Parenteau, LLC
                                       402 Asylum Street
                                       Hartford, CT 06103
                                       Tel: (860) 246-2466
                                       Fax: (860) 246-1794
                                       choward@mppjustice.com



                           CERTIFICATION OF SERVICE


       I hereby certify that on this 30th day of December, 2019, a copy of the
foregoing Motion for Extension of Time, was filed electronically [and served by
mail on anyone unable to accept electronic filing]. Notice of this filing will be sent
by e-mail to all parties by operation of the Court’s electronic filing system [or by
mail to anyone unable to accept electronic filing]. Parties may access this filing
through the Court’s system.


                                       /s/ Claire M. Howard
                                        Claire M. Howard
        Case 3:17-cv-01104-VLB Document 98-24 Filed 12/30/19 Page 4 of 22




                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


                                             :
SUSAN BYRNE,                                 :       CIVIL CASE NO.: 3:17-cv-01104-VLB
    Plaintiff                                :
                                             :
v.                                           :
                                             :
YALE UNIVERSITY,                             :
     Defendant                               :       DECEMBER 30, 2019
                                             :

PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION IN LIMINE TO PRECLUDE
DEFENDANT FROM OFFERING EVIDENCE DISCLOSED ON DECEMBER 19, 2019
     Plaintiff hereby moves in limine to prevent Defendant from offering recordings

not produced in discovery, despite Plaintiff’s request therefor. Through a

discovery request in January 2019 Plaintiff requested all recordings made by

Professor Kate Stith during Defendant’s Climate Review of the Department of

Spanish and Portuguese. At the time, Defendant insisted these recordings were

lost - yet slightly over a week ago, months after the close of discovery,

Defendants produced nineteen hours of Professor Stith’s recordings of

interviews with Professors Rolena Adorno and Noel Valis.             1


     Permitting the introduction of such evidence would be unduly prejudicial to

Plaintiff and would violate the Federal Rules of Civil Procedure and the Court's

scheduling order. As Defendant cannot meet its burden of establishing that its

failure to disclose these documents was substantially justified or harmless,




1
  Despite Professor Roberto Gonzalez Echevarria testifying that Professor Stith recorded his
interview, Defendant has not produced this recording. Exhibit 1, Gonzalez Echevarria Dep. At 31.

                                                 1
        Case 3:17-cv-01104-VLB Document 98-24 Filed 12/30/19 Page 5 of 22




Plaintiff requests that the Court prohibit Defendant from introducing the

recordings of Professors Adorno, Gonzalez Echevarria and Valis.

   I.      Background

   On January 31, 2019, Plaintiff propounded written discovery, seeking in

relevant part:

             1.     Please produce the recordings taken by Kate Stith during
             the interviews conducted in connection with the Climate Review
             as noted on page 3 of the Climate Review Report, bates stamp
             number BYRNE003066, “Most witnesses came alone to their
             interviews. Kate Stith, the Lafayette S. Foster Professor at Yale
             Law School, accompanied each professor to the professor’s
             interview, and with our consent recorded the interviews.”

Exhibit 2. In response, Yale stated that “These recordings were inadvertently lost

when Professor Stith upgraded her iPhone, at which time she did not save the

“voice memos” to the Cloud or via any other method.” Exhibit 3. Fact discovery

in this case then closed on March 1, 2019. Doc. 69.

   However on December 18, 2019 - 293 days after the close of fact discovery and

11 days before the deadline for filing the joint trial memo, Defendant produced

eight recordings of over nineteen hours of interviews with Professors Adorno and

Valis on topics including Plaintiff, the anonymous letter writer and allegations of

sexual harassment.

    There are issues with this production, including redactions of the recordings

that last over thirty minutes in one instance, two hours of missing recordings of

Professor Adorno’s interview, and no recordings of Professor Gonzalez

Echevarria’s interview. The parties are conferring regarding these issues and

Plaintiff anticipates filing a motion to compel. Nonetheless, as Plaintiff is



                                          2
         Case 3:17-cv-01104-VLB Document 98-24 Filed 12/30/19 Page 6 of 22




severely harmed by the last minute production of these recordings, Defendant

should be precluded from introducing evidence regarding tape recordings that

Kate Stith made of Professors Adorno, Gonzalez Echevarria and Valis in their

climate review interviews.

   II.      Argument

   Plaintiff requested these recordings in a narrowly tailored discovery request

nearly a year ago and Defendant insisted that the recordings could not be

located. Now, less than two weeks before joint trial memo is due and the Court’s

decision on Defendant’s Motion for Summary Judgment is pending, Defendant

insisted that the recordings were found by Professor Stith when earlier Defendant

claimed that the recordings were lost and could not be retrieved.

   Defendant has an obligation to preserve any potentially relevant documents.

Once Plaintiff requested these recordings, Defendant cannot insist they could not

be found, which prejudiced Plaintiff in her depositions of Jamaal Thomas,

Professors Adorno and Valis. Defendant cannot be rewarded for this dilatory

behavior by then being able to use these recordings.

   Federal Rules of Civil Procedure 26(b) and 34(b) require parties to produce

relevant documents and other materials in response to an opposing party’s

discovery requests. Rule 26(e) requires that answers to requests for production

of documents - “must” be supplemented “in a timely manner if the party learns

that in some material respect the disclosure or response is incomplete or

incorrect, and if the additional or corrective information has not otherwise been




                                         3
      Case 3:17-cv-01104-VLB Document 98-24 Filed 12/30/19 Page 7 of 22




made known to the other parties during the discovery process or in writing.” Fed.

R. Civ. P. 26(e).

       Rule 37 provides that, "[I]f a party fails to provide information or identify a

witness as required by Rule 26(a) or (e), the party is not allowed to use that

information or witness to supply evidence on a motion, at a hearing, or at a trial,

unless the failure was substantially justified or is harmless." Fed. R. Civ. P.

37(c)(1). The party facing sanctions for a late disclosure has the burden of

showing that its failure to comply with Rule 37 is justified or harmless. Design

Strategy, Inc. v. Davis, 469 F.3d 284, 297 (2d Cir. 2006). Furthermore, a bad faith

violation of Rule 26 is not required to exclude evidence pursuant to Rule 37.

Design Strategy, Inc. v. Davis, 469 F.3d 284, 296 (2d Cir. 2006).

   As this court has explained

              [I]f a party fails to provide information or identify a witness as
              required by Rule 26(a) or (e), the party is not allowed to use that
              information or witness to supply evidence on a motion, at a
              hearing, or at a trial, unless the failure was substantially
              justified or is harmless." Fed. R. Civ. P. 37(c)(1). "In addition to
              or instead of this sanction, the court, on motion and after giving
              an opportunity to be heard may impose other appropriate
              sanctions." Id. at 37(c)(1)(C). Appropriate sanctions include
              prohibiting the disobedient party from supporting or opposing
              designated claims or defenses, striking pleadings, and
              dismissing the action or proceeding in whole or in part.


ProBatter Sports, LLC v. Sports Tutor, Inc., Docket No. 3:05-CV-1975 (VLB), 2019

U.S. Dist. LEXIS 54896, at *19-20 (D. Conn. Mar. 29, 2019).

   Before awarding exclusion, the Court must consider: "(1) the party's

explanation for the failure to comply with the disclosure requirement; (2) the

importance of the testimony of the precluded witnesses; (3) the prejudice

                                           4
      Case 3:17-cv-01104-VLB Document 98-24 Filed 12/30/19 Page 8 of 22




suffered by the opposing party as a result of having to prepare to meet the new

testimony; and (4) the possibility of a continuance." Patterson v. Balsamico, 440

F.3d 104, 117 (2d Cir. 2006).

   Regarding Defendant’s purported explanation, Yale has only stated that Ms.

Stith located the recordings in a cloud-based backup of her recordings, which is

entirely inapposite to its prior representations that Ms. Stith "did not save the

"voice memos" to the Cloud.” Exhibit 3.

   As there are conflicting statements and testimony regarding what was said in

Professor Adorno, Valis and Gonzalez Echevarria’s climate review testimony and

also given that there are significant portions of the recording which are redacted,

Plaintiff is still assessing the importance of the recordings. Nonetheless, given

the potential importance and Defendant’s excessive lateness in producing the

recordings, it should be precluded from introducing the recordings as evidence.

   Plaintiff is severely prejudiced by having to review nineteen hours of taped

interviews between three of the individuals who participated in the retaliatory

denial of Plaintiff’s tenure application. As this late disclosure comes months

after Defendant’s Motion for Summary Judgment and days before the parties

Joint Trial Memorandum is to be submitted to the court, the possibility of a

continuance for Plaintiff to re-open the depositions of Professors Adorno,

Gonzalez Echevarria and Valis is unlikely.

   Plaintiff’s request for Defendant to be precluded from using this late disclosed

evidence is reasonable and appropriate given the circumstances. See Bastys v.

Rothschild, 154 Fed. Appx. 260, 263 (2d Cir. 2005) (affirming preclusion of expert



                                          5
      Case 3:17-cv-01104-VLB Document 98-24 Filed 12/30/19 Page 9 of 22




report produced after close of discovery); Kennedy v. Supreme Forest Products,

Docket No. 3:14-cv-01851 (JAM), 2017 U.S. Dist. LEXIS 77005, at *14 (D. Conn. May

22, 2017) (granting motion for exclusion of late disclosed photographs); Lujan v.

Cabana Mgmt., Inc., 284 F.R.D. 50, 68 (E.D.N.Y. 2012) (precluding late-produced

documents which were clearly responsive to plaintiff’s discovery requests but

not produced during discovery or which defendants might rely at trial)

   Wherefore, for all the foregoing reasons, Plaintiff respectfully requests that

this motion in limine be granted.



                                       PLAINTIFF,
                                       SUSAN BYRNE


                                By:    /s/ Claire M. Howard
                                       Claire M. Howard (ct29654)
                                       Madsen, Prestley & Parenteau, LLC
                                       402 Asylum Street
                                       Hartford, CT 06103
                                       Tel: (860) 246-2466
                                       Fax: (860) 246-1794
                                       choward@mppjustice.com




                                         6
     Case 3:17-cv-01104-VLB Document 98-24 Filed 12/30/19 Page 10 of 22




                           CERTIFICATION OF SERVICE


       I hereby certify that on this 30th day of December, 2019, a copy of the
foregoing Motion for Extension of Time, was filed electronically [and served by
mail on anyone unable to accept electronic filing]. Notice of this filing will be sent
by e-mail to all parties by operation of the Court’s electronic filing system [or by
mail to anyone unable to accept electronic filing]. Parties may access this filing
through the Court’s system.


                                       /s/ Claire M. Howard
                                        Claire M. Howard




                                          7
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         EXHIBIT 1
      Case 3:17-cv-01104-VLB Document 98-24 Filed 12/30/19 Page 12 of 22
12/14/2018                 Roberto González Echevarría                     Page: 1

  1                      UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT
  2

  3    * * * * * * * * * * * * * * *
       SUSAN BYRNE,                  )
  4                                  )
                      Plaintiff,     )
  5                                  )        Civil Action No.
            -vs-                     )        3:17-CV-01104 (VLB)
  6                                  )
       YALE UNIVERSITY, INC.,        )
  7                                  )
                      Defendant.     )
  8    * * * * * * * * * * * * * * *

  9

 10

 11

 12

 13                DEPOSITION OF:     ROBERTO GONZÁLEZ ECHEVARRÍA

 14                DATE:        DECEMBER 14, 2018

 15                HELD AT:     MADSEN, PRESTLEY & PARENTEAU, LLC
                                402 Asylum Street
 16                             Hartford, Connecticut 06103

 17

 18

 19             Reporter: Bethany A. Carrier, RMR, CRR, CSR #071

 20

 21

 22

 23
                            CASSIAN REPORTING, LLC
 24                       21 Oak Street - Suite 307
                         Hartford, Connecticut 06106
 25                             (860) 595-7462
                       scheduling@cassianreporting.com

                             Cassian Reporting, LLC
                (860) 595-7462 - scheduling@cassianreporting.com
      Case 3:17-cv-01104-VLB Document 98-24 Filed 12/30/19 Page 13 of 22
12/14/2018                Roberto González Echevarría                      Page: 2

  1                          A P P E A R A N C E S

  2

  3    Representing the Plaintiff:

  4    MADSEN, PRESTLEY & PARENTEAU, LLC
       402 Asylum Street
  5    Hartford, Connecticut 06103
            By: CLAIRE M. HOWARD, ESQ.
  6              choward@mppjustice.com
                 (860) 246-2466
  7

  8
       Representing the Defendant:
  9
       JACKSON LEWIS, P.C.
 10    90 State House Square
       8th Floor
 11    Hartford, Connecticut 06103
            By: VICTORIA WOODIN CHAVEY, ESQ.
 12              victoria.chavey@jacksonlewis.com
                 (860) 522-0404
 13

 14

 15

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 23

 24

 25

                             Cassian Reporting, LLC
                (860) 595-7462 - scheduling@cassianreporting.com
      Case 3:17-cv-01104-VLB Document 98-24 Filed 12/30/19 Page 14 of 22
12/14/2018                 Roberto González Echevarría                 Page: 31

  1                        THE WITNESS:    Some specific, but --

  2    BY MS. HOWARD:

  3          Q      And Professor Stith recorded the interview.

  4    Correct?

  5          A      Yes.    I remember that she did.

  6          Q      And did Professor Stith get your consent to

  7    record this interview?

  8          A      Of course.    Yes.    Yes.

  9          Q      So this was something that Professor Stith and

 10    you discussed before the climate review interview?

 11          A      Yes.    She must have asked me about that, yes.

 12          Q      So did you begin the interview with reading the

 13    statement?

 14          A      No.    There were some general questions about the

 15    climate in the department, and then I read my statement;

 16    and then they asked me questions about that.           But I can't

 17    recall what the questions were very precisely.

 18          Q      Do you recall generally what the questions

 19    were?

 20          A      No.    About the feeling in the department, how --

 21    which my view of it was very positive.

 22          Q      Other than the statement, did you provide the

 23    climate review investigators with any documents?

 24          A      No.

 25          Q      Why not?

                              Cassian Reporting, LLC
                 (860) 595-7462 - scheduling@cassianreporting.com
12/14/2018                Roberto González Echevarría                 Page: 218
  1                           STATE OF CONNECTICUT
  2          I, Bethany A. Carrier, RMR, CRR, CSR #071, a Notary
  3    Public, duly commissioned and qualified in and for the
  4    State of Connecticut, do hereby certify that pursuant to
  5    Notice, there came before me on the 14th of December,
  6    2018, the following-named person, to wit:          ROBERTO
  7    GONZÁLEZ ECHEVARRÍA, who was by me duly sworn to testify
  8    to the truth and nothing but the truth; that he was
  9    thereupon carefully examined upon his oath and his
 10    examination reduced to writing under my supervision; that
 11    this deposition is a true record of the testimony given by
 12    the witness.
 13          I further certify that I am neither attorney nor
 14    counsel for nor related to nor employed by any of the
 15    parties to the action in which this deposition is taken,
 16    and further that I am not a relative or employee of any
 17    attorney or counsel employed by the parties hereto, or
 18    financially interested in this action.
 19          IN WITNESS THEREOF, I have hereunto set my hand
 20    this 2nd day of January, 2019.
                                             't}7J~                        --.
 21
 22
                          ______________________________________
 23                        Bethany A. Carrier, RMR, CRR, LSR #071
                                           Notary Public
 24
       My Commission Expires:
 25    October 31, 2023
                             Cassian Reporting, LLC
      Case 3:17-cv-01104-VLB Document 98-24 Filed 12/30/19 Page 15 of 22
                (860) 595-7462 - scheduling@cassianreporting.com
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         EXHIBIT 2
        Case 3:17-cv-01104-VLB Document 98-24 Filed 12/30/19 Page 17 of 22

                                                CONFIDENTIAL


   PROCEDURE

            On March 24, 2015, Provost Ben Polak, Faculty of Arts and Sciences (FAS) Dean Tamar
   Gendler, and Graduate School (GS) Dean Lynn Cooley announced a review of the learning and
   working environment in the department of Spanish and Portuguese to all members of the
   department. On March 27th, letters were sent to graduate students, ladder faculty, lectors, and
   staff describing the interviewing process. 11 We began interviewing witnesses on March 3 1, 2015
   and finished our last interview on September 11, 2015. Although we tried to interview first
   students, then junior faculty, then lectors and staff, and finally senior faculty, scheduling issues
   sometimes prevented us from adhering to this schedule. We interviewed Prof. Adorno in a series
   of six interviews for a total of 23 hours. Because of time constraints we did not return to any
   witness to discuss matters that had been raised in others' interviews.

            A number of witnesses provided documents to us for our review. Copies of the
   documents we cite in this report are attached as exhibits to this report. Prof. Adorno has told us
   she is submitting to the Provost the more than 400 pages of documents she gave us.

          Prior to their scheduled interviews, Prof. Adorno, Prof. Gonzalez Echevarria, and Prof.
  Noel Valis requested that we send a statement of the topics we planned to cover during the
  interviews. (We did not provide statements.)

            Most witnesses came alone to their interviews. Kate Stith, the Lafayette S. Foster
   Professor at Yale Law School, accompanied each professor to the professor's interview, and with
   our consent recorded the interviews. In addition to helping these professors prepare beforehand,
   Prof. Stith consulted with them during the interviews, occasionally posed questions, and raised a
   number of concerns about this review (including its impetus).

           A member of the department told us that he 12 overheard Prof. Adorno coaching Prof.
   Valis about the responses Prof. Valis should provide in her conversation with us; Prof. Adorno
   denied having discussed interview content with other faculty in the department.


  SENIOR FACULTY PERSPECTIVES

   Overview

          The senior faculty 13 in the department of Spanish and Portuguese are deeply and
  passionately divided on the issue of how well the department is functioning. But on some things

   11
    Goren, Barbara and Thomas, Jamaal. "Re: Departmental Climate Review." Messages to Graduate
  Students in the Department of Spanish and Portuguese, Members of the Ladder Faculty in the Department
  of Spanish and Portuguese, Members of the Instructional Faculty in the Department of Spanish and
  Portuguese, and Virginia Gutierrez, Registrar, and Susan Wheeler, Financial Assistant. 27 March 2015.
  Email, attached to this report as Exhibit 5. Separate e-mails were sent to the students, ladder faculty, lectors,
  and staff in the department.
   12
    This report will use the masculine pronoun throughout to refer to both male and female witnesses who
  are not identified by name, in order to help protect their anonymity.
   13
    The senior faculty, in order of seniority, are Prof. Gonzalez Echevarria (who joined the department as a
  tenured professor in 1977), Prof. K. David Jackson (1993), Prof. Adorno (1996), Prof. Valis (1999), and
  Prof. Gonzalez-Perez (2006).


                                                         3
Confidential--Attorneys' Eyes Only                                                               BYRNE003066
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         EXHIBIT 3
       Case 3:17-cv-01104-VLB Document 98-24 Filed 12/30/19 Page 19 of 22




                         UNITED STATES DISTRICT COURT
                                     for the
                           DISTRICT OF CONNECTICUT


                                              :
SUSAN BYRNE,                                  :      CIVIL CASE NO.: 3:17-cv-01104-VLB
    Plaintiff                                 :
                                              :
v.                                            :
                                              :
YALE UNIVERSITY,                              :
     Defendant                                :      MARCH 4, 2019
                                              :

     DEFENDANT’S RESPONSES TO PLAINTIFF’S SIXTH SET OF REQUESTS FOR
                      PRODUCTION OF DOCUMENTS

        Defendant Yale University (“Defendant”), by and through its undersigned

counsel, hereby submits the following responses to Plaintiff’s Sixth Set of

Requests for Production of Documents to Defendant dated January 31, 2019.

                                GENERAL RESPONSE

        In response to Plaintiff’s request for e-mail and other electronically stored

information ("ESI"), Defendant will make reasonable, good faith, proportionate

efforts required under the Rules, including, without limitation, Rules 1, 26(b)(1)

and 26(g)(1)(B)(iii), Federal Rules of Civil Procedure, to locate and produce non-

privileged documents that are responsive to Plaintiff’s requests.

        The ESI will generally be produced as it is kept in the usual course of

business rather than organized and labeled to correspond to the categories of

Plaintiff's requests.

        The format of production of the ESI will be the form in which it is ordinarily

maintained, or in a reasonably useable form or forms, typically Tiff and Load with
     Case 3:17-cv-01104-VLB Document 98-24 Filed 12/30/19 Page 20 of 22




metadata included. Upon request, Yale can also produce in fully searchable PDF

format with metadata preserved. Also upon request, Yale will meet and confer if

you have any questions or would like to discuss this further, including, without

limitation, specific Tiff and Load specifications appropriate for your ESI review

software. Production of ESI will generally not be made in paper unless you pay

for the additional costs and charges involved.

PRODUCTION REQUEST NO. 1:

Please produce the recordings taken by Kate Stith during the interviews

conducted in connection with the Climate Review as noted on page 3 of the

Climate Review Report, bates stamp number BYRNE003066, “Most witnesses

came alone to their interviews. Kate Stith, the Lafayette S. Foster Professor at

Yale Law School, accompanied each professor to the professor’s interview, and

with our consent recorded the interviews.”

RESPONSE:          Although Professor Stith, in her capacity as advisor to certain
                   interviewees and not on behalf of Yale University, recorded
                   certain interviews as “voice memos” during the Climate
                   Review process, she is no longer in possession of these
                   recordings. These recordings were inadvertently lost when
                   Professor Stith upgraded her iPhone, at which time she did not
                   save the “voice memos” to the Cloud or via any other method.
                   Professor Stith was not aware that the upgrade would cause
                   her to lose the recorded interviews, and her cell phone
                   provider did not warn her of this risk.

                   As a result, Professor Stith is not in possession of any
                   documents responsive to this Request and was unable to
                   provide them to Yale per this Request.




                                        2
Case 3:17-cv-01104-VLB Document 98-24 Filed 12/30/19 Page 21 of 22




                              DEFENDANT,
                              YALE UNIVERSITY



                              By    ~
                              Victoria Woodin Chavey (ct 14242)
                              David C. Salazar-Austin (ct 25564)
                              Jackson Lewis P.C.
                              90 State House Square, 8th Floor
                              Hartford, CT 06103
                              Tel.: (860) 522-0404
                              Fax: (860) 247-1330
                              Victoria.Chavey@jacksonlewis.com
                              David.Salazar-Austin@jacksonlewis.com




                                3
     Case 3:17-cv-01104-VLB Document 98-24 Filed 12/30/19 Page 22 of 22




                          CERTIFICATION OF SERVICE

            This is to certify that the foregoing was sent by electronic mail on

this 4th day of March, 2019 to the following counsel of record:

                         Magdalena Wiktor, Esq.
                         Claire M. Howard, Esq.
                         Madsen, Prestley & Parenteau, LLC
                         402 Asylum Street
                         Hartford, CT 06103
                         CHoward@mppjustice.com




                                      David C. Salazar-Austin
                                      4817-4379-3798, v. 1
